          Case 6:20-cv-00507-ADA Document 62 Filed 12/09/22 Page 1 of 4




                       IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

 NEONODE SMARTPHONE LLC,                           §
                                                   §
         Plaintiff,                                §
 v.                                                §
                                                             Civil No. 6:20-cv-00507-ADA
                                                   §
 SAMSUNG ELECTRONICS CO. LTD, and                  §
 SAMSUNG ELECTRONICS AMERICA,                      §         JURY TRIAL DEMANDED
 INC.,                                             §
       Defendant.                                  §


                 JOINT STATUS REPORT REGARDING IPR PROCEEDING

        Pursuant to the Order granting the parties’ Stipulation to Stay Case Pending Final Written

Decisions in Certain Inter Partes Review Proceedings (Dkt. No. 55), entered in the above-

captioned case, Plaintiff Neonode Smartphone LLC (“Neonode”) and Defendants Samsung

Electronics Co. Ltd. and Samsung Electronics America, Inc. (collectively “Samsung”) submit

this Joint Status Report Regarding Inter Partes Review (IPR) Proceedings.

        On June 15, 2022, the U.S. Patent Trial and Appeal Board issued a Final Written Decision

that claims 1-8 of U.S. Patent No. 8,812,993 are unpatentable. See IPR2021-00145, Paper No. 71.

Neonode filed a Notice of Appeal on August 15, 2022. Id. at Paper No. 74.

        On December 1, 2022, the U.S. Patent Trial and Appeal Board issued a Final Written

Decision that claims 1–6 and 12-17 of U.S. Patent No. 8,095,879 are not unpatentable based on the

instituted grounds of unpatentability. See IPR2021-00144, Paper No. 58.

        On or about June 14, 2021, Google LLC filed a petition for Inter Partes Review of claims 1-

7, 9, 12-13, and 15-17 of U.S. Patent No. 8,095,879. A final written decision is due to be issued in

that proceeding no later than January 13, 2023. See IPR2021-01041, Paper No. 19 (granting

institution of IPR).



WEST/300932134
          Case 6:20-cv-00507-ADA Document 62 Filed 12/09/22 Page 2 of 4




       Given the fact that a Final Written Decision is due to be issued in IPR2021-01041 in a little

more than one month, the parties jointly request the Court extend the stay through issuance of a

Final Written Decision in IPR2021-01041.




WEST/300932134
         Case 6:20-cv-00507-ADA Document 62 Filed 12/09/22 Page 3 of 4




Date: December 9, 2022

 GRAVES & SHAW LLP                          DLA PIPER LLP (US)

 /s/ Philip J. Graves                       /s/ John M. Guaragna
 By: Philip J. Graves                 By:   John M. Guaragna
 CA State Bar No. 153441                    Texas Bar No 24043308
                                            DLA PIPER LLP (US)
 Email: pgraves@gravesshaw.com              303 Colorado Street, Suite 3000
 Greer N. Shaw                              Austin, TX 78701-4653
 CA State Bar No. 197960                    Tel: 512.457.7125
 Email: gshaw@gravesshaw.com                Fax: 512.457.7001
 GRAVES & SHAW LLP                          john.guaragna@dlapiper.com
 355 S. Grand Ave., Ste. 2450
 Los Angeles, CA 90071                      Mark K. Fowler (Pro hac vice)
 Telephone: (213) 204-5101                  Bar No. 124235
                                            mark.fowler@dlapiper.com
 Craig D. Cherry                            Erik Fuehrer (Pro hac vice)
 State Bar No. 24012419                     Bar No. 252578
                                            Erik.fuehrer@dlapiper.com
 craig@swclaw.com                           DLA PIPER LLP (US)
 Justin W. Allen                            2000 University Avenue
 State Bar No. 24081977                     East Palo Alto, CA 94303-2214
 justin@swclaw.com                          Tel: 650.833.2000
 STECKLER WAYNE COCHRAN                     Fax: 650.833.2001
 CHERRY
                                            Tiffany Miller (Pro hac vice)
 8416 Old McGregor Road Waco, Texas         Tiffany.miller@dlapiper.com
 76712 Telephone: (254) 651-3690            DLA PIPER LLP (US)
                                            401 B Street, Suite 1700
                                            San Diego, CA 92101-4297
 COUNSEL FOR PLAINTIFF NEONODE              Tel: 619.699.2700
 SMARTPHONE LLC                             Fax: 619.699.2701

                                            Benjamin Mueller (Pro hac vice)
                                            Benjamin.mueller@dlapiper.com
                                            DLA PIPER LLP (US)
                                            444 West Lake Street, Suite 900
                                            Chicago, IL 60606-0089
                                            Tel: 312.368.4000
                                            Fax: 312.236.7516

                                            ATTORNEYS FOR SAMSUNG
                                            ELECTRONICS CO. LTD. and SAMSUNG
                                            ELECTRONICS AMERICA, INC.




WEST/300932134
         Case 6:20-cv-00507-ADA Document 62 Filed 12/09/22 Page 4 of 4




                                CERTIFICATE OF SERVICE

       I certify that the foregoing document was filed electronically on December 9, 2022,

pursuant to Local Rule CV-5(a) and has been served on all counsel who have consented to

electronic service via electronic mail. Any other counsel of record will be served by first class

U.S. mail on this same date.

                                              /s/ John M. Guaragna
                                              John M. Guaragna




         WEST/300932134
